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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                   Case Nos.: 3:08cr22/LAC/EMT
                                                 3:13cv502/LAC/EMT
GARY LAKEY



                    REPORT AND RECOMMENDATION

      This matter came before the court on Defendant Gary Lakey’s “Motion by a

Person in Federal Custody to Vacate, Set Aside, or Correct Sentence under 28 U.S.C.

§ 2255” and memorandum in support thereof (ECF Nos. 1009, 1010).                The

Government responded in opposition (ECF No. 1053), and Defendant filed a reply

and joined his co-Defendant’s notices of supplemental authority (ECF No. 1092; see

also ECF Nos. 1191, 1193, 1186, 1187). The case was referred to the undersigned

for the issuance of all preliminary orders and any recommendations to the district

court regarding dispositive matters. See N.D. Fla. Loc. R. 72.2; see also 28 U.S.C.

§ 636(b) and Fed. R. Civ. P. 72(b). After a careful review of the record and the

arguments presented, it is the opinion of the undersigned that Defendant has not

raised any issue requiring an evidentiary hearing and that the ' 2255 motion should

be denied. See Rules 8(a) and (b), Rules Governing Section 2255 Cases.
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                                 BACKGROUND

      Defendant and thirteen others were charged in a forty-count superseding

indictment with various charges related to the international distribution of child

pornography via the internet (ECF No. 78 (Defendant Lakey charged in Counts 1, 2,

8, 19, 31, 40)). After a six-day jury trial during which he was represented by Albert

Oram, Esq., Defendant was convicted of engaging in a child exploitation enterprise,

in violation of 18 U.S.C. § 2252A(g) (Count 1); conspiring to advertise,

transport/ship, receive, and possess child pornography, and to obstruct an official

proceeding, in violation of 18 U.S.C. §§ 371, 1512(k), 2251(e), and 2252A(b)

(Count 2); receiving child pornography, in violation of 18 U.S.C. § 2252A(a)(2) and

2 (Count 31); obstructing justice, in violation of 18 U.S.C. § 1512(c)(2) (Count 40);

advertising the exchange of child pornography, in violation of 18 U.S.C.

§ 2251(d)(1) and 2 (Count 8); and knowingly transporting and shipping child

pornography, in violation of 18 U.S.C. § 2252A(a)(1) and 2 (Count 19) (ECF Nos.

78, 475, 605). The court sentenced Defendant to a term of life imprisonment as to

Count 1, 360 months as to Counts 2 and 8, and 240 months as to Counts 19, 31 and

40, with each count to run concurrently with the others (ECF No. 605).


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      Defendant Lakey and six other Defendants appealed, and the Eleventh Circuit

vacated each Defendant’s convictions for conspiracy and statutory obstruction of

justice in Counts 2 and 40. United States v. McGarity, 669 F.3d 1218, 1229 (11th

Cir. 2012). The opinion stated no fewer than five times that the evidence against

the Defendants, which included their own confessions, was nothing short of

“overwhelming.” Id. at 1242, 1243, 1246, 1263. Upon remand, the district court

entered an amended judgment sentencing Defendant to life imprisonment as to

Count 1, 360 months as to Count 8, and 240 months at to Counts 19 and 31 (ECF

No. 915). The Supreme Court denied certiorari (ECF No. 930). Defendant timely

filed the instant motion to vacate, raising 75 claims for relief (ECF Nos. 1009, 1010).

      As noted by the Government, the facts of this case are set forth in the

superseding indictment, the transcripts of the trial and sentencing proceedings, the

Pre-Sentence Investigation Report (“PSR”), the second amended judgment and

statement of reasons, and Eleventh Circuit’s opinion on appeal (ECF Nos. 78, 720–

725, 762, 903, 1195).      Therefore, the undersigned will provide a somewhat

abbreviated recitation of the facts here, and relay additional specific facts only as

needed for resolution of the claims raised in the instant motion.




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      As set forth in the Eleventh Circuit’s opinion, in 2005 an informant notified

Constable Brenden Power of the Queensland, Australia Police Service of the

existence of a computer ring of child pornography users that operated through

internet newsgroups. The informant revealed which newsgroups the ring was

using, the ring’s encryption method, and the informant’s nickname within the ring,

which enabled Constable Power to infiltrate the ring. Constable Power began

monitoring the ring and learned of the sophisticated nature of the ring, including

controls on memberships and complicated methods of communicating and posting

using encryption. Members uploaded scrambled and encrypted binary files in one

newsgroup, then would place a message in another newsgroup advising that the

upload was there with instructions.     Other members could then download the

encrypted message, decrypt and read it, and follow the instructions contained therein

to locate and download the files containing child pornography. The group masked

headings when posting files and messages and frequently changed nicknames as a

further means of avoiding detection.

      After realizing that the ring was operating internationally, Constable Power

traveled to the United States in 2006 where he continued his investigation in

conjunction with the FBI’s Innocent Images Unit. The joint investigation continued


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for another year, during which time, law enforcement was able to identify 22

members of the child pornography ring, 14 of whom were people of special interest.

Between August 31, 2006 and December 15, 2007, law enforcement detected the

upload of over 400,000 images and more than 1,000 videos by ring members. Not

all of the images and videos portrayed child pornography, but many of them depicted

the sexual abuse of minors in graphic and grotesque detail.

      On February 28, 2008, law enforcement agents simultaneously executed

search warrants at the residents of the Defendants in this case. All Defendants

except for one confessed his involvement with child pornography and with the child

pornography ring in question. Encryption keys of the type provided to Constable

Power to access the pertinent newsgroup postings were found in the possession of

all but one of the Defendants, including Defendant Lakey. Furthermore, after being

taken into custody and housed together, six of the Defendants, including Defendant

Lakey, admitted to the others his membership in the child pornography ring.

McGarity, 669 F.3d at 1229–31.

                                   ANALYSIS

General Standard of Review

      Collateral review is not a substitute for direct appeal, and therefore the


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grounds for collateral attack on final judgments pursuant to § 2255 are extremely

limited. A prisoner is entitled to relief under section 2255 if the court imposed a

sentence that (1) violated the Constitution or laws of the United States, (2) exceeded

its jurisdiction, (3) exceeded the maximum authorized by law, or (4) is otherwise

subject to collateral attack. See 28 U.S.C. § 2255(a); McKay v. United States, 657

F.3d 1190, 1194 n.8 (11th Cir. 2011). “Relief under 28 U.S.C. § 2255 ‘is reserved

for transgressions of constitutional rights and for that narrow compass of other injury

that could not have been raised in direct appeal and would, if condoned, result in a

complete miscarriage of justice.’” @ Lynn v. United States, 365 F.3d 1225, 1232

(11th Cir. 2004) (citations omitted).     The “fundamental miscarriage of justice”

exception recognized in Murray v. Carrier, 477 U.S. 478, 496 (1986), provides that

it must be shown that the alleged constitutional violation “has probably resulted in

the conviction of one who is actually innocent . . . .”

      The law is well established that a district court need not reconsider issues

raised in a section 2255 motion which have been resolved on direct appeal. Rozier

v. United States, 701 F.3d 681, 684 (11th Cir. 2012); United States v. Nyhuis, 211

F.3d 1340, 1343 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th

Cir. 1994).   Once a matter has been decided adversely to a defendant on direct


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appeal, it cannot be re-litigated in a collateral attack under section 2255. Nyhuis,

211 F.3d at 1343 (quotation omitted).      Broad discretion is afforded to a court’s

determination of whether a particular claim has been previously raised. Sanders v.

United States, 373 U.S. 1, 16 (1963) (“identical grounds may often be proved by

different factual allegations . . . or supported by different legal arguments . . . or

couched in different language . . . or vary in immaterial respects”).

      Furthermore, because a motion to vacate under section 2255 is not a substitute

for direct appeal, issues which could have been raised on direct appeal are generally

not actionable in a section 2255 motion and will be considered procedurally barred.

Lynn, 365 F.3d at 1234–35; Bousley v. United States, 523 U.S. 614, 621 (1998);

McKay v. United States, 657 F.3d 1190, 1195 (11th Cir. 2011).              An issue is

“‘available’ on direct appeal when its merits can be reviewed without further factual

development.”     Lynn, 365 F.3d at 1232 n.14 (quoting Mills, 36 F.3d at 1055).

Absent a showing that the ground of error was unavailable on direct appeal, a court

may not consider the ground in a section 2255 motion unless the defendant

establishes (1) cause for not raising the ground on direct appeal, and (2) actual

prejudice resulting from the alleged error, that is, alternatively, that he is “actually

innocent.” Lynn, 365 F.3d at 1234; Bousley, 523 U.S. at 622 (citations omitted).


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To show cause for procedural default, a defendant must show that “some objective

factor external to the defense prevented [him] or his counsel from raising his claims

on direct appeal and that this factor cannot be fairly attributable to [defendant=s] own

conduct.” Lynn, 365 F.3d at 1235. A meritorious claim of ineffective assistance

of counsel can constitute cause. See Nyhuis, 211 F.3d at 1344.

         In this case, the Government argues that nearly all of Defendant’s substantive

claims are procedurally barred, or otherwise are not properly before the court on

collateral review. Taken as stand-alone claims, the Government’s assertions are

largely well-taken.          However, Defendant also raises claims of ineffective

assistance of both trial and appellate counsel in his motion, which may defeat the

procedural bar in some cases.            Therefore, some substantive discussion will be

included on Defendant’s claims. However, in the interest of brevity, the court will

not reiterate the standard for, or engage in a discussion of, the procedural bar on each

of Defendant’s substantive claims, recognizing that absent Defendant’s ineffective

assistance of counsel claim, they likely are not cognizable on collateral review.

         Defendant’s Individual Grounds for Relief1

         1. Failure to Preserve/Produce Evidence


1
    Related grounds for relief have been grouped for streamlined review.

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      In Grounds 1, 2, 8, and 9, Defendant asserts the Government failed to preserve

potentially exculpatory evidence, failed to provide the defense with the best evidence

or with potentially exculpatory evidence, and failed to provide access to the evidence

that it had seized. He also claims, in Ground 73, that the Government hid or

attempted to hide exculpatory evidence within “tens of thousands of documents” it

provided to him, which hindered his efforts to prepare a defense. In addition to

asserting that such claims are procedurally barred, the Government argues that

Defendant’s assertions are factually without merit.

      The Supreme Court held in Brady v. Maryland, 373 U.S. 83, 87 (1963), that

“the suppression by the prosecution of evidence favorable to an accused upon

request violates due process where the evidence is material either to guilt or

punishment.” In order to obtain relief on a Brady claim, Defendant must establish

that: (1) the Government possessed evidence favorable to him; (2) he did not possess

the evidence and could not have obtained it with reasonable diligence; (3) the

Government suppressed favorable evidence; and (4) the evidence was material.

Ponticelli v. Secretary, Florida Department of Corrections, 690 F.3d 1271, 1290

(11th Cir. 2012). Defendant has failed to meet his burden.




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       In response to Defendant’s claim in Ground 1 that the Government informant

“selectively downloaded and saved messages . . . that he felt were relevant or may

have indicated criminal activity,” the Government notes that Constable Power

downloaded all material relevant to the investigation and avers that the Government

neither destroyed nor failed to download any exculpatory evidence (ECF No. 720 at

52–146; ECF No. 721 at 180–96). 2 Defendant complains that the FBI did not issue

a preservation letter, which prevented him from retrieving all messages from the

relevant time period to place them in their proper context, and that failure to preserve

the original materials also prevented him from showing that they had been falsified

or tampered with by the Government. Defendant offers no basis for his suggestion

that any of the messages may have been falsified or tampered with, and his

accusation and insinuation offer no basis for relief.

       With respect to Defendant’s claim that he was not provided with access to

discovery, the attachments to the Government’s brief—that is, communication

concerning discovery that was provided—support its assertion that this information

was provided directly to the defense or that the defense had the opportunity to review



2
  The page references to transcripts cited herein are to the court’s electronic docket rather than
the numbers as they appear on the hard copy of the transcript.

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it (ECF No. 1053, Exhs. B & C). Exhibit C shows that defense counsel was

provided with screen captures of file names of images and videos that were in

Defendant’s possession, and which were noted to be a “very small sample of the

hundreds of thousands of images/videos” Defendant possessed (see ECF No. 1053,

Exh. C) (emphasis in original). The Government asserts that providing some of the

evidence actually went beyond its discovery obligations. Moreover, Defendant’s

own assertion in Ground 73, that the Government “hid” exculpatory evidence in the

discovery it provided, admits both that he was provided with discovery and that such

discovery included exculpatory evidence.

      Defendant’s citation to Federal Rule of Evidence 1002 in Ground 2 is

inapposite as pertaining to discovery. This rule, which provides that an original

writing, recording, or photograph is required in order to prove its content, governs

the type of evidence admissible at trial.

      Defendant asserts in Ground 8 that the Government failed to provide several

subpoenas it had allegedly cited in the search warrant affidavit but had not included

in the discovery. He contends that the subpoenas contain exculpatory evidence

because they “in all likelihood show many instances in which a posting alleged to

be by a defendant provided locations and details of material uploads by some other


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individual not related to the case” (see ECF No. 1009 at 9). He asserts that this

theory was in direct conflict with the Government’s theory of guilt, namely, that only

the transporter would know the location and details, so no future evidence was

required beyond the posting itself. Attached to Defendant’s reply is what purports

to be a copy of a subpoena showing different binary image postings allegedly

advertised by him, but which, he claims, were traced back to individuals that were

not members of the Achilles group (ECF No. 1167, Exh. A). Defendant’s assertion

that this information was not provided among the tens of thousands of documents he

admits to having received, is unproven, as is his underlying assertion that it would

have been exculpatory such that any alleged omission rose to the level of a Brady

violation.

      In sum, to the extent these claims are construed as alleging a violation of

Brady, they fail. Defendant has not shown that the Government intentionally

suppressed any evidence material to the question of guilt or punishment.

      2. Procurement of the Indictment

      In Grounds 3 and 4, Defendant complains about irregularity in the indictment

process. First he claims that the Government unfairly delayed his indictment,

resulting in the loss of relevant evidence. He also asserts that the Government


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improperly engaged in forum shopping by presenting its case in the Northern District

of Florida after a grand jury in Maryland did not return the charges sought by the

Government.

      To the extent Defendant asserts that prosecution was improper in this district,

he is mistaken. As noted by the Government in its response, this was a global

operation. Dozens of conspirators were arrested on February 29, 2008, around the

world. Clearly, the case was much more far reaching than just this one Defendant,

and the Government had to choose the best time and an appropriate location for

prosecuting its case.

      With respect to venue, in a case involving a conspiracy, venue is proper “in

any district where an overt act was committed in furtherance of the conspiracy.”

United States v. Smith, 918 F.2d 1551, 1557 (11th Cir. 1990); United States v.

Matthews, 168 F.3d 1234, 1246 (11th Cir. 1999). Venue exists in any district in

which an “offense was begun, continued or completed,” and where an offense

involves transportation in interstate or foreign commerce it may be “prosecuted in

any district from, through, or into which such commerce moves.”           18 U.S.C.

§ 3237(a); see also United States v. Bagnell, 679 F.2d 826 (11th Cir. 1982)

(Government may prosecute pornography dealers in any district into which the


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material is sent); United States v. Kapordelis, 569 F.3d 1291 (11th Cir. 2009) (citing

United States v. Rodriguez-Moreno, 526 U.S. 275, 279–81 (1999)).                        The

investigation initially began in the District of Maryland where the FBI’s Innocent

Images Initiative is located (ECF No. 1053 at 12). The grand jury investigation

took place in the Northern District of Florida because co-Defendant Freeman

committed acts in this district in furtherance of the conspiracy charged herein. As

such, venue was not improper in this district, and Defendant has not shown a

violation of his constitutional rights in this regard.

       3. Procurement/Execution of Arrest and Search Warrants

       Defendant asserts in Grounds 5 and 6 that the Government used excessive

force and coercion during his arrest and interrogation, and that because he was afraid,

he “would have confessed to absolutely anything the interrogators mentioned” and

that there was “nothing voluntary about any statement, signature, or initialing under

these coercive circumstances” (ECF No. 1009 at 8).3 There is no record evidence

supporting Defendant’s version of events. The testimony from FBI Special Agent

Robert Herzog revealed Defendant’s willingness to cooperate and provide access to



3
 Defendant now denies that he ever confessed. Rather he claims that statements made to the
FBI interrogators were coerced as well as misinterpreted (ECF No. 1010 at 12).

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his usernames and passwords, and that upon Defendant’s request, agents located

Defendant’s medication (purportedly for schizophrenia and manic depression) and

assured him that he would have it wherever he was transported (ECF No. 723 at 12–

28; ECF No. 1053, Exh. E). Defendant asserts that the interrogator “implied

leniency, telling [him] that if he cooperated the prosecutor and judge would be

informed and things would go easier for him” (ECF No. 1009 at 8). Defendant

asserts that this was improperly coercive in that there was no way for the agent to

know this. Cooperation with the Government is typically the best way to mitigate

one’s sentencing exposure, and the fact that Defendant ultimately went to trial and

as such did not benefit from his initial choice to cooperate in no way renders the

investigative techniques invalid. What is more, the court notes that to the extent

that Defendant believes he has any factual basis for a claim that his civil rights were

violated by actions taken during the interrogation and arrest, he could have brought

a separate civil rights action pursuant to Bivens v. Six Unknown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388 (1971). Such an action is independent

of the question of his guilt or innocence of the charges in this case.

      In Ground 12, Defendant claims that the Government’s search warrant

violated the Fourth Amendment and contained false and misleading statements. He


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complains that the warrant included “boilerplate” language that was used in at least

thirteen other affidavits around the country, and that although the affiant attested that

the warrant affidavit was based on his own personal knowledge and experience, the

affiant had not participated in any aspect of the investigation and had little

knowledge of the case until tasked with obtaining a search warrant. Defendant fails

to acknowledge that this fact is included in the affidavit itself. Special Agent Robert

Cochran expressly states in the affidavit that the statements therein are “based in part

on information provided by other Special Agents of the FBI, [and] other law

enforcement officers,” in addition to his own investigation, experience, training, and

background as a Special Agent (Case No. 3:08mj21/EMT (ECF No. 2 at 2)).

      Defendant mischaracterizes many of the allegedly false and misleading

statements he identifies in the affidavit (see ECF No. 1009 at 12). For instance,

Paragraph 16 does not describe “all persons who collect any images of children [as]

‘sexually deviant’”; the term “enterprise” used in Paragraphs 17 and 18 did not

originate from the Australian former member of the group; and the affidavit did not

state either that the 403,442 images distributed or received by the enterprise were all

child pornography, or that the production and trade of child pornography was the

sole purpose of the enterprise. Defendant also quarrels with the legal conclusion


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contained in the affidavit that certain video segments described therein constituted

child pornography. Such a determination was unnecessary at that point. The

description of the contents of the videos as set forth in the affidavit merely served to

add to the strength of the affiant’s case that there was probable cause to support a

search. The undersigned finds that the affidavit, taken as a whole, was not false and

misleading. Defendant has not shown that the affidavit contains either “deliberate

falsehood or reckless disregard for the truth,” Franks v. Delaware, 438 U.S. 154, 171

(1978), and his suggestion that it was constitutionally infirm is not well-founded.

      In Ground 13 Defendant contends that the agent in charge of the arrest and

search and seizure altered the list of seized items, which, according to Defendant,

proves that the evidence had been tampered with, making authentication impossible.

Defendant notes that the inventory list of the items seized from his residence

originally contained one DVD disc and one CD disc, but that two days later the agent

returned and altered the inventory sheet to reflect that law enforcement had seized

three CDs (ECF No. 1009 at 13). The Government notes that Defendant’s rendition

of events is mistaken. At the conclusion of the search, FBI Special Agent Herzog

completed an FD-597 receipt for property seized (ECF No. 1053 at 15 & Exh. G).

The items were transported to the FBI office in Indianapolis. A form prepared


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contemporaneously with the events, on March 10, 2008, reflects that during a review

of the evidence seized, Special Agent Herzog noted that three bags of miscellaneous

CDs retrieved from Defendant’s residence had not been documented on the FD-597,

although they had been noted on the evidence recovery log (ECF No. 1053, Exh. H

at 2). Special Agent Herzog then completed a second FD-597 to document the

missing items and attached a copy of the original search warrant and forwarded

another copy to be left at Defendant’s residence (id.). Defendant has shown neither

wrongdoing nor that he is entitled to relief.

      4. Infirmity of the Superseding Indictment

      Defendant raises challenges to the sufficiency of the superseding indictment

in Grounds 7 and 14. First, he claims in Ground 7 that the language of the

indictment parroted the statutory language without providing enough specific

information about the underlying offense conduct or the co-Defendants involved in

each charge for him to prepare a meaningful defense (ECF No. 1009 at 8–9). The

Government notes that multiple requests for bills of particulars addressed to this

issue were denied by the district court (see, e.g., ECF Nos. 321, 377). Defendant’s

disagreement with the district court’s decision and his desire to relitigate this issue

herein does not entitle him to relief. Furthermore, the fact that Defendant was


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provided with the Government’s discovery (see, e.g., ECF No. 1053, Exhs. B, C)

means that he was fully apprised as to what he would have to defend himself against

should he choose, as he did, to go to trial.

      In Ground 14, Defendant asserts that he was prejudiced by the indictment of

multiple Defendants on substantive counts for offense conduct not occurring within

the Northern District of Florida, due to the highly disturbing child pornography

images involved in some of the counts. As noted supra, venue is proper in any

district where an offense was begun, continued, or completed and in any district

from, through, or into which the unlawful commerce moves. 18 U.S.C. § 3237(a).

Therefore, venue was proper in this district because the Defendants posted

advertisements that reached this district and posted child pornography that was

received in this district. Furthermore, under a co-conspirator theory of liability, the

Defendants who resided outside the Northern District of Florida aided and abetted

Defendant Lakey’s receipt of child pornography in this district and are criminally

liable for the receipt of same under Pinkerton v. United States, 328 U.S. 640 (1946).

See also United States v. Long, 866 F.2d 402, 406–07 (11th Cir. 1989); United States

v. Stitzer, 785 F.2d 1506, 1519 n.7 (11th Cir. 1986). Pinkerton liability extends to

“all acts and foreseeable consequences of the conspiracy.”          United States v.


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Silvestri, 409 F.3d 1311, 1335 (11th Cir. 2005). Although he did not specifically

make this argument, Defendant was not entitled to be tried alone merely because of

the introduction of prejudicial evidence in a joint trial, or because he believed he had

a better chance of acquittal in a separate trial. See United States v. Lopez, 649 F.3d

1222, 1234 (11th Cir. 2011); Zafiro v. United States, 506 U.S. 534, 538–40 (1993).

His assessment of the effect of prejudicial spillover, specifically as it relates to the

length of time it took the jury to reach a verdict, is not probative (ECF No. 1010 at

3). Defendant has not met his burden of showing he is entitled to relief.

      5. Improper Use of Government Witness

      Defendant contends in Ground 10 that the Government improperly used a

confidential informant to obtain the defense trial strategy. He asserts that in mid-

2008, co-Defendant John Mosman and his counsel “covertly arranged a plea deal”

whereby Mosman would remain incarcerated in the same county jail dormitory as

the other Defendants and participate in meetings and discussions regarding trial

strategies. Defendant further contends that Mosman was able to access the laptop

computer the co-Defendants had been provided to jointly review discovery, and that

at one point he deleted large amounts of discovery in an attempt to disrupt the

defense efforts. Defendant claims that Mosman took notes and passed them on to


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his lawyer and the prosecutor. As seeming “proof” of the covert arrangement,

Defendant cites the fact that Mosman did not enter his formal plea until the final

deadline for doing so, and thereafter was transferred to another facility. As further

“proof,” Defendant notes that a trial the Government had claimed would last four

weeks was completed in five days.

      Defendant’s bald assertions do not prove his claim.           Furthermore, the

Government notes in its response, as this court is well aware, the Office of the United

States Attorney for this district does not engage in plea bargaining.              The

Government explained at a pre-trial conference that it expected the trial to be shorter

than anticipated in part because there were fewer Defendants proceeding to trial, but

also because it had culled through the evidence (see ECF No. 763 at 16; see also

ECF No. 720 at 10). Defendant’s arguments are based on rank speculation without

any supporting evidence.

      In Ground 11, Defendant asserts that the Government interfered with defense

witness and co-Defendant Michael Berger, who pleaded guilty in this case. He

claims that Berger was a victim of unauthorized access to his computer, or

“hacking,” and not actually a member of the alleged conspiracy.             The other

Defendants purportedly sought to have Berger testify as a defense witness about the


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hacking and his online activities.     According to Defendant, the Government

approached counsel for Berger and at least one other unidentified Defendant and

warned that if Berger testified, evidence would be turned over to Berger’s home state

and the Government would “see to it that he was indicted on an unrelated allegation

of video voyeurism” from ten years prior (ECF No. 1009 at 11). The Government

allowed Berger to plead guilty to a single “unrelated” count of receipt of child

pornography.

      Defendant’s assertions are, again, factually unsupported. Appended to the

Government’s response is a letter from Mr. Berger’s attorney regarding his

conversations with co-Defendant Mumpower about the conspiracy, and his desire to

cooperate with the Government in order to receive a Rule 35 motion (ECF No. 1053,

Exh. J). The record reflects that on October 2, 2008, Berger, as part of the instant

conspiracy, pleaded guilty to Count 26 of the Superseding Indictment, not an

“unrelated” charge (see ECF Nos. 288–290, 855–2). The transcript of Berger’s

rearraignment also reflects that pursuant to Berger’s plea the Government agreed

that it would not prosecute him in the District of Maryland for a crime committed in

that district (ECF No. 855-2 at 83–84). Berger was sentenced on December 16,

2008, before trial began in Defendant’s case (ECF Nos. 386, 387). Thus, there was


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nothing preventing the defense from calling him to testify at trial, had it chosen to

do so. Berger’s motivation to earn a Rule 35 motion, rather than impropriety on the

part of the Government, might have prevented him from being a defense witness.

      6. Speedy Trial Violation

      Defendant claims in Ground 15 that he was denied a speedy trial because 300

days elapsed between his March 13, 2008, first appearance before a magistrate judge

and his trial, which commenced on January 5, 2009. He complains that counsel

waived speedy trial on July 21, 2008 after the 70-day statutory limitation had already

expired (ECF No. 249), and that trial was delayed a further 199 days with no waiver

and no benefit to the defense.

      The record reflects that on May 5, 2008, the Government filed, with the

acquiescence of all Defendants, a Joint Motion to Continue Trial Date (ECF No.

201). This was the first of several continuances. The Government notes that

between Defendant’s arraignment and the return of the superseding indictment, there

were multiple motions that tolled the speedy trial clock, which Defendant concedes

(ECF No. 1053, at 20 n.10; ECF No. 1167 at 18). The defense never moved for

dismissal of the indictment as a result of an alleged speedy trial violation, and no

objection was preserved. His bald assertion that counsel should not have agreed to


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the delay as Defendant “gained nothing from the delay, including time to prepare,”

does not entitle him to relief.

      7. Infirmity of Jury Venire and Selection Process

      Defendant raises three related claims regarding the alleged infirmity of the

jury venire and the selection process. He claims in Ground 16 that the jury venire

was inadequate due to its size, noting that only 49 individuals appeared. In Ground

17, Defendant claims that the defense was “forced to use peremptory strikes in order

to excuse jurors who should have been dismissed for cause.” He also claims that

the court was reluctant to, or refused to, dismiss jurors for cause due to the small size

of the jury pool. In Ground 48, Defendant claims that the district court abused its

discretion when it empaneled an inadequate number of jurors in the venire and

consequently refused to dismiss jurors for cause.

      Due process requires that “the jury must stand impartial and indifferent to the

extent commanded by the Sixth Amendment.” Morgan v. Illinois, 504 U.S. 719,

727 (1992). The seating of any juror who should have been dismissed for cause

requires reversal. Skilling v. United States, 561 U.S. 358, 395–96 (2010) (citing

United States v. Martinez-Salazar, 528 U.S. 304, 316 (2000)). Defendant identifies

four jurors that he believes should have been stricken for cause: Juror #2, whose


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wife was an elementary school principal; Juror #23, a kindergarten teacher who

expressed a bias against the Defendants; Juror #25, who stated that she had been

molested as a child by a stranger; and Juror #33, who stated that the daughters of her

only two friends had been sexually abused and that she had worked in the State

Attorney’s Office assisting in the prosecution of sexual abuse cases (ECF No. 1009

at 15).

          Defendant’s assertions about the court’s “refusal” to strike jurors for cause are

not supported by the record. Contrary to his assertion, a defense attorney may move

to strike a juror for cause, and in fact attorney Clinton Couch made such a challenge

(ECF No. 758 at 68–70). The court merely advised counsel that it would count the

challenge for cause as one of the 14 challenges allotted to the defense (ECF No. 758

at 70). Thus, Defendants as a group received more challenges than those allotted

under Rule 24(b)(2) of the Federal Rules of Criminal Procedure, and there was no

operative difference between a challenge for cause and a peremptory challenge.

And, despite Defendant’s complaint, the record reflects that each of the jurors

described above was stricken by the defense (ECF No. 758 at 71–75). Moreover,

the undersigned notes that the Defendants as a group did not exhaust their 14

challenges (ECF No. 758 at 75–76).             Defendant has not shown that the jury


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ultimately empaneled was biased or that the outcome of the proceedings would have

been different with a larger venire, and he is not entitled to relief on this ground.

      In Ground 45, Defendant contends that the district court abused its discretion

when, in charging the jury with its duties at the beginning of trial, it asserted a belief

in the “Good Book.” Defendant claims that this suggested the jury should follow

“the dubious morals of that tome rather than the proper laws of Congress” (ECF No.

1009 at 29). The reference in question actually occurred during jury selection,

while the court was explaining the standard of proof required in a criminal case,

proof beyond a reasonable doubt. The court stated, “To use an example, our

scientists continue to tell us that for over five billion years the sun has been coming

up every day, and that suggests to me that it is probably reasonable to expect that the

sun will rise tomorrow. On the other hand, those of us who believe in the Good

Book know that it says one day that sun will not rise, and that also could be

tomorrow.” (ECF No. 758 at 38). The court went on to explain that a possible doubt

about the sun not coming up the next day was not a reasonable doubt, and then asked

the jurors whether they would require proof beyond any doubt before they were

willing to return a verdict of guilty.        This single isolated reference cannot

reasonably be construed as the court telling the jury “to use Christian morals from


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the Bible to determine guilt” as Defendant claims (ECF No. 1009 at 29). It in no

way contaminated the venire panel or rendered the resulting jury constitutionally

infirm.

      8. Improper Testimony/Evidence Used at Trial

      Defendant raises multiple claims regarding the testimony and evidence

adduced at trial. He claims, primarily, that evidence was improperly introduced at

trial and makes arguments about the credibility of the testimony presented (see ECF

No. 1010 at 33–39). Such arguments are not proper in light of the procedural

posture of this case.

      Defendant contends in Ground 18 that the Government solicited

impermissible hearsay from an FBI agent. Defendant notes that Constable Power

was the undercover agent who downloaded, decrypted, read, and saved all postings

from the alleged conspiracy, and that Power testified generally at trial about how

messages are decrypted, and how everything he downloaded and decrypted was

saved on two removable hard drives which were admitted at trial over objection

(ECF No. 720 at 56, Trial Exhibits 1A and 1B). Defendant complains that because

it was FBI Special Agent Charles Wilder who testified as to the authenticity of the

various decrypted messages and materials, Defendant was unable to cross-examine


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Power regarding the actual downloading and decrypting of the messages or

otherwise challenge their authenticity (ECF No. 721 at 134–39).

      The Government notes that Constable Power was available through the entire

trial and, in addition to the defense being able to cross-examine him during the

Government’s case in chief, the defense could have called him as a defense witness.

It further notes that Special Agent Wilder’s testimony was limited to a review of

Defendant’s postings, or evidence that was directly or circumstantially linked to

Defendant via records and/or tracing, and that he did not authenticate the actual

decrypting/downloading process (ECF No. 722 at 221–56).                 Furthermore,

Defendant has not shown how cross-examination about the authenticity of the

postings would have altered the outcome of the proceedings (see ECF No. 1167 at

17–18). Defendant’s assertion in Ground 49 that it was an abuse of discretion of

allow this testimony is procedurally barred and without merit.

      Defendant next asserts, in Ground 19, that the Government solicited testimony

about facts that witnesses could not have possibly known to be true and therefore

“induced” perjury. If a witness testified in error about some aspect of the operation

of the conspiracy, this error cannot, without more, be attributed to nefarious intent

on the part of the Government, and it does not entitle Defendant to § 2255 relief (see


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ECF No. 1009 at 17, citing alleged testimonial errors at ECF No. 720 at 57, 64, 78,

86, 89, 92, 119).

      In addition to factual inaccuracies, Defendant contends in Ground 60 that

witnesses improperly testified as to “legal conclusions” when they identified certain

images or videos as child pornography.       Defendant’s specific reference to the

testimony of Special Agent Wilder regarding a “sampling of” child pornography was

actually related to items seized from the home of co-Defendants Freeman and

Castleman (ECF No. 721 at 211, 296). The Government notes that the jury was

instructed on the definition of child pornography (ECF No. 469). Therefore, the

jury was able to draw its own conclusion about the exhibits it viewed. Perhaps more

significantly, the undersigned finds that the brief references complained of did not

render the proceedings constitutionally infirm in light of the overwhelming evidence

against Defendant, including actual video and photographic evidence.

      In Ground 20, Defendant asserts that the presentation of what he characterizes

as “inflammatory personal evidence” against two co-Defendants violated his

constitutional rights. He identifies two pieces of evidence. The first is a CD

containing child pornography that included what purported to be a personal note

from the minor victim depicted in the images and videos on the CD, addressed to


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co-Defendant Castleman’s daughter, indicating that it was okay for her to “play

together” like the victim and her father (ECF No. 721 at 286). The second item is

a typewritten confession by co-Defendant McGarity in which he admits that he

molested his daughter in 1999 (ECF No. 723 at 232–33). Similarly, in Ground 21

Defendant asserts that the presentation of inflammatory evidence against the six co-

Defendants violated his rights.

      It is certainly true that in a multi-defendant trial, evidence may be introduced

against one defendant that is not probative of the guilt of another defendant. The

Government is not barred by this fact from introducing the evidence at all. With

respect to the specific items Defendant challenges, the appellate court found a

challenge to the admission of the CD to be meritless and not warranting discussion;

it also ruled that the McGarity’s confession was properly admitted. McGarity, 669

F.3d at 1229 n.6, 1243–45.

      It is a well-settled principle that it is preferable for persons who are charged

together to also be tried together, particularly in conspiracy cases. United States v.

Green, 818 F.3d 1258, 1282 (11th Cir. 2016) (quoting United States v. Smith, 918

F.2d 1551, 1559 (11th Cir. 1990)); United States v. Browne, 505 F.3d 1229, 1268

(11th Cir. 2007) (citing Zafiro v. United States, 506 U.S. 534, 537–38 (1993)


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(“There is a preference in the federal system for joint trials of defendants who are

indicted together”)); United States v. Hill, 643 F.3d 807 (11th Cir. 2011).

Cautionary instructions to the jury to consider the evidence separately, such as the

one given in this case, are presumed to guard against prejudice. United States v.

Francis, 131 F.3d 1452, 1459 (11th Cir. 1997) (quoting United States v. Gonzalez,

940 F.2d 1413, 1428 (11th Cir. 1991)); Zafiro, 506 U.S. at 539; United States v.

Garcia, 405 F.3d 1260, 1273 (11th Cir. 2005). Severance is highly disfavored.

Even in a case when two co-conspirators committed murder, the Eleventh Circuit

has found that severance is not warranted. See United States v. Lopez, 649 F.3d

1222, 1233–36 (11th Cir. 2011). Thus, while Defendant argues strenuously that his

trial should have been severed from that of his co-Defendants’ (ECF No. 1010 at

26–33), he has not shown any constitutional basis for relief.            Defendant’s

contention in Ground 50 that the district court abused its discretion as it relates to

Grounds 19, 20, and 21 is without merit.

      In Ground 22, Defendant argues that the Government’s use of a large screen

to broadcast the images and videos to the court and the jury violated his rights. He

asserts that the images and videos were highly inflammatory and prejudicial, and he

maintains that the Defendants had stipulated that they contained child pornography.


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      The Government correctly notes that the screen used at trial was the district

court’s evidence presentation system, and that there was no other screen in the

courtroom that would have allowed the jury to see the evidence.            Although

Defendant claims that the Government had the option to use still photos, presentation

of the video evidence obviously required a different form of presentation. Binding

Eleventh Circuit precedent holds that the introduction into evidence of images

containing child pornography is proper, notwithstanding a defendant’s stipulation to

that fact. United States v. Alfaro-Moncada, 607 F.3d 720, 734 (11th Cir. 2010). A

criminal defendant “may not stipulate or admit his way out of the full evidentiary

force of the case as the Government chooses to present it.” Old Chief v. United

States, 519 U.S. 172, 186–87 (1997). There was no constitutional error in the

admission of the video and still evidence, and the Government presented only a

fraction of the available images. Furthermore, as to Ground 23—a complaint

regarding the presentation of prejudicial evidence regarding “known victims”—this

evidence was necessary because many Defendants did not want to stipulate that the

images and videos were of “real” children (ECF No. 763 at 5; ECF No. 724 at 35).

      In Ground 24 Defendant claims that the Government improperly solicited

testimony regarding his post-arrest silence (ECF No. 721 at 70). The identical issue


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was addressed on appeal, and the Eleventh Circuit found no error. McGarity, 669

F.3d at 1240–42. It may not be relitigated herein.

       Defendant contends in Ground 47 that the district court should have pre-

screened the videos/images that were presented to weigh their “possible effect” on

the jury. There is no legal authority suggesting that this is required. The court

warned the prosecution against presenting too many images, but ultimately the

Government was the master of its case and, following the court’s warning, rightfully

proceeded in the manner it deemed appropriate and necessary. Defendant is not

entitled to relief.

       In Grounds 59 and 61, Defendant contends that the introduction of the

prosecutor’s work product as “evidence” in the case was prejudicial to him and that

the district court erred in allowing its introduction.      Specifically Defendant

complains that charts listing nicknames and groups in the conspiracy and

summarizing evidence should not have been admitted. The Government argues that

summary charts are admissible pursuant to Federal Rule of Evidence 1006, although

Defendant correctly notes that this rule provides for the use of summaries to “prove

the content of voluminous writings, recordings or photographs that cannot be

conveniently examined in court.” Still, the court does not find that Defendant has


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shown that the admission of the summary exhibits was in violation of his

constitutional rights or somehow altered the outcome of the proceedings against him.

See, e.g., United States v. Francis, 131 F.3d 1452, 1457–59 (11th Cir. 1997)

(discussing approved use of summaries of evidence).           Furthermore, counsel

reminded the jurors of the limited use of summary charts during closing arguments

(ECF No. 760 at 66).

       9. Variance and Sufficiency of the Evidence at Trial

       Defendant challenges the sufficiency of the evidence against him to sustain a

conviction on the various charges in Grounds 25, 26, 27, 28, 29, and 32. Of course,

because the convictions on Counts 2 and 40 were vacated on appeal, Defendant’s

challenge to his conviction on these two counts (including in Grounds 30 and 31 of

the instant motion) is moot. A claim that the evidence was insufficient to support a

conviction on Counts 1, 8, 19, and 31 is not a constitutional claim cognizable on

collateral review. Additionally, as noted by the Eleventh Circuit, the evidence

presented in this case was overwhelming. Thus, even if cognizable, Defendant is

not entitled to relief.

       In Grounds 28 and 29, Defendant asserts that the evidence presented by the

Government to support his conviction on Count 8, in which he was charged with


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advertising child pornography, was a material variance from the indictment and also

insufficient to sustain his conviction.     He also claims in Ground 33 that this

conviction, as well as his conviction on Count 18 for transporting child pornography,

was based on protected speech. As to the latter claim, child pornography is not

entitled to First Amendment protection. See New York v. Ferber, 458 U.S. 747

(1982); Ashcroft v. The Free Speech Coalition, 535 U.S. 234 (2002). As to the

former claims, Defendant’s suggestion that the Government was limited in its

presentation of evidence at trial to only the evidence it presented to the grand jury is

not well-founded. Furthermore, his assertion that this was not a continuing offense

is contradicted by the indictment itself which reveals that the offense charged in

Count 8 was alleged to have occurred “between on or about August 31, 2006,

through the date of the return of this superseding indictment” (March 18, 2008) (ECF

No. 78 at 14).

      Defendant also challenges the sufficiency of the evidence to support his

convictions on Counts 1, 18, and 29 (Grounds 30–32). As recognized by the

Eleventh Circuit on appeal, the overwhelming evidence at trial supported his guilt

of these specific charges. Thus, even if cognizable, no relief is warranted on these

claims. Similarly, Defendant’s assertion in Ground 52 that the district court abused


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its discretion in denying his motion for judgment of acquittal is not cognizable and

does not entitle him to relief.

      10.    Improper Closing Argument

      Defendant argues in Ground 33 that the prosecutor’s closing argument and

rebuttal were improper and violated his constitutional rights and that the district

court should have granted a mistrial. The propriety of remarks made during the

prosecutor’s closing argument was addressed on appeal; Defendant joined with

defendants McGarity, Lambert, White, and Mumpower in contending that a mistrial

was warranted. McGarity, 669 F.3d at 1245. Notably, the Eleventh Circuit agreed

that some comments made by the prosecutor during closing were improper, but

found the comments did not prejudice the substantial rights of the Defendants in

light of the overwhelming evidence against them. Id. at 1245–47. Defendant’s

dissatisfaction with this result does not entitle him to relitigate his claim herein.

      11.    Jury Instructions

      In Grounds 34 through 38 Defendant argues that the jury instructions were

unclear or improper, and in Ground 53 he asserts that the district court abused its

discretion when it “mis-instructed” the jury.




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      Grounds 34 and 35 are directed to the allegedly confusing instruction with

respect to Count 1, which failed to include a unanimity instruction. A unanimity

instruction was required to ensure that the jury convicted each Defendant based on

the same three predicate offenses. On appeal, Defendant challenged the lack of

unanimity instruction and the Government conceded that same was required. The

appellate court found, however, that the failure to include the instruction was

harmless error. The Eleventh Circuit noted that each of the Defendants, with the

exception of Defendant White, was convicted of three predicate continuing criminal

enterprise (“CCE”) offenses, to wit, advertising child pornography and transporting

child pornography, as well as conspiracy, and that conspiracy remained a valid

predicate offense notwithstanding the fact that it had been vacated as a lesser

included offense. McGarity, 669 F.3d 1250–51 n.45. Because this issue was

resolved on appeal, no further discussion is warranted.

      Defendant argues in Ground 36 that the failure to provide a unanimity

instruction on the substantive counts, as requested by his attorney, violated his

constitutional rights. In response, the Government notes merely that the court

utilized pattern instructions (ECF No. 469). Defendant argues that because the

Government presented evidence of multiple advertisements, transports, and receipts


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of child pornography, a unanimity instruction was required to ensure that the jurors

unanimously agreed on which act or acts formed the basis for each conviction.

Defendant’s suggestion that, had such an instruction been given, the outcome of the

proceedings would have been different, is purely speculative. He has not shown

that his substantial rights were affected, and he is not entitled to relief. See United

States v. Weiss, 539 F. App’x 952, 956–57 (11th Cir. 2013).

      Ground 37 is a claim that counsel’s failure to request an instruction regarding

venue violated Defendant’s rights.       Co-defendant Freeman was located in the

Northern District of Florida. Venue exists in any district in which an “offense was

begun, continued or completed,” and where an offense involves transportation in

interstate or foreign commerce it may be “prosecuted in any district from, through,

or into which such commerce moves.” 18 U.S.C. § 3237(a); see also Bagnell, 679

F.2d at 826 (Government may prosecute pornography dealers in any district into

which the material is sent); Kapordelis, 569 F.3d at 1291 (citing United States v.

Rodriguez-Moreno, 526 U.S. at 279–81). There was no legal basis to request such

an instruction, and counsel is not ineffective for his failure to raise a meritless issue.

      Defendant alleges in Ground 38 that the jury was improperly instructed on

aiding and abetting. This issue was thoroughly discussed during the jury charge


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conference, with defense counsel taking the position that the Government’s decision

to charge the Defendants in separate counts of the indictment meant that they waived

the ability to pursue aiding and abetting liability because a lone defendant cannot aid

and abet himself (ECF No. 724 at 69–73). After the court indicated its intent to

give the standard aiding and abetting instruction, a co-Defendant’s attorney objected

to the instruction except as to Count 40 (ECF No. 724 at 126–27, 134). The

Government noted that the aiding and abetting instruction could be read in any case.

The court found it to be proper and included the instruction (ECF No. 724 at 135).

An issue such as this that was fully developed could have been raised on appeal. In

any event, Defendant has not shown that inclusion of this instruction violated his

constitutional rights or that the district court abused its discretion in instructing the

jury.

         12.   Sentencing Issues

         Defendant raises several issues related to sentencing. Sentencing issues are

typically not cognizable on collateral review, so Defendant attempts to cloak his

claims in constitutional terms in an attempt to obtain relief. Defendant contends

that neither the facts in the PSR nor the Sentencing Guidelines enhancements were

supported by the evidence at trial (Grounds 39–40), that the counts of conviction


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were improperly grouped in the PSR, resulting in a higher offense level (Ground

41), and that he was sentenced based on a Guideline that did not take effect until

after the conclusion of his offense conduct (Ground 62).

      Section 2G2.6 of the Sentencing Guidelines, which assessed a base offense

level of 35 to offenses involving child exploitation enterprises, took effect on

November 1, 2007. Defendant’s assertion that the court improperly used this

guideline in his case, in which the offense conduct continued through his arrest in

February of 2008, is simply mistaken. Defendant has not shown an ex post facto

violation, and Ground 62 is without merit.

      Defendant’s other sentencing issues are not cognizable. The undersigned

notes that counsel made various objections to the PSR and adopted the objections of

other co-Defendants, but that these objections were largely overruled (ECF No. 762

at 48–62). Mr. Oram argued that a life sentence was disproportionate and severely

harsh under the facts of this case, and urged the court that the minimum mandatory

sentence of 20 years on Count 1 was sufficient (ECF No. 762 at 60–62).

Defendant’s suggestion that the jury had to find certain facts relating to guidelines

enhancements is mistaken. His sentence was at or within the statutory maximum

as to each count. “Under an advisory guidelines regime, judicial fact-finding about


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relevant conduct that supports a sentence within the statutory maximum set forth in

the United States Code does not violate the Sixth Amendment.” United States v.

Belfast, 611 F.3d 783, 827 (11th Cir. 2010); accord United States v. Booker, 543

U.S. 220, 233 (2005). The court did not state, as it had to one co-Defendant, that

its sentence would be the same without considering its ruling on the objections that

the defense raised to the PSR (ECF No. 835 at 48). Nonetheless, the seriousness

with which the court viewed Defendant’s offense conduct was unmistakable from

the record. Defendant’s sentence was not constitutionally improper.

      Defendant argues in Ground 42 that he was penalized for exercising his right

to a jury trial, rather than sentenced in accordance with the evidence, because the

sentences of co-conspirators who pleaded guilty were lower than his and lower than

their applicable guidelines ranges.

      Defendants who plead guilty typically receive not only a three-level

downward adjustment to reward them for accepting responsibility for their criminal

conduct, but also the opportunity to cooperate with the Government in hopes of

receiving an even greater reduction in their sentence. Thus, the fact that individuals

who pleaded guilty received lower sentences is not only constitutionally permissible,

it is unsurprising. This is not a sentencing disparity, but rather a reflection of


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different circumstances. Nonetheless, the court notes that counsel for co-Defendant

Freeman made this argument at sentencing (ECF No. 835 at 40), to no avail.

Defendant has not shown that he was so dissimilarly situated that if his attorney had

presented the same argument to the court that the outcome of the proceedings would

have been any different.

      Defendant’s contention that the sentence imposed for Count 2 was illegal

(Ground 43) is moot. As noted earlier, the conviction on Count 2 was vacated on

appeal. His assertion in Ground 44 that his sentences on Counts 1, 8, and 19 were

the result of a double jeopardy violation is without merit. Count 1 charged the

Defendants with engaging in a CCE. Defendant’s convictions on Count 8 and

Count 19 (in addition to the vacated Count 2) served as the necessary three predicate

offenses for Count 1. Participation in a CCE or conspiracy does not eliminate an

individual’s liability for any substantive offense conduct.

      Finally, Defendant contends in Ground 54 that the district court abused its

discretion in imposing upon him the maximum sentence. The appellate court

reviewed the propriety of all of the Defendants’ sentences and found them to be

neither grossly disproportionate nor in excess of constitutional limitations.

McGarity, 669 F.3d at 1256. There was no sentencing error that warrants relief.


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      13.    Jurisdictional Error

      In Ground 46, Defendant contends that the district court abused its discretion

when it failed to establish jurisdiction over the proceedings. United States District

Courts have original jurisdiction over all offenses against the laws of the United

States. 18 U.S.C. § 3231. Defendant was charged with multiple violations of laws

of the United States, and as such jurisdiction was proper.

      14.    Failure to Grant Mistrial After Prosecutorial Misconduct

      In Ground 51, Defendant claims that the district court abused its discretion

when it refused to grant a mistrial following “prosecutorial misconduct.”

Defendant identifies two instances of alleged misconduct. The first is the alleged

coercion surrounding Defendant’s confession, discussed supra in Ground 6. Even

assuming the truth of Defendant’s allegations, although there is no factual basis to

do so in the record, the incident in question occurred prior to trial. As such, a

mistrial would not be an appropriate remedy.

      Defendant next references Ground 38, which relates to the aiding and abetting

instruction to the jury. He offers nothing to support his claim that a mistrial was

warranted, and he is not entitled to relief.

      15.    Transgressions of the Eleventh Circuit Court of Appeals


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      In Grounds 55 through 58, Defendant challenges various actions of the

Eleventh Circuit Court of Appeals.         Specifically, Defendant claims that the

appellate court failed to follow its own and Supreme Court precedent, when it failed

to establish that it had jurisdiction over the appeal, when it declined to consider the

impact of issues it identified as meritless on other Defendants, and finally in holding

that it was bound by prior precedent. Assertions of error by the appellate court are

not cognizable in this proceeding. Defendant filed a petition for writ of certioari,

the proper method for challenging the Eleventh Circuit’s decision, but the United

States Supreme Court denied the petition. Lakey v. United States, 133 S. Ct. 381

(2012). No relief is warranted herein.

      16.    Ineffective Assistance of Counsel

      Defendant contends in Grounds 63 through 69 that his trial attorney, Albert

Oram, was constitutionally ineffective in every stage of the proceedings generally,

and he also identifies specific instances of alleged ineffectiveness beyond those

claims already addressed in his motion and the discussion, supra, in this Report.

      Ineffective assistance of counsel claims are generally not cognizable on direct

appeal and are properly raised by a § 2255 motion regardless of whether they could

have been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503


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(2003); see also United States v. Franklin, 694 F.3d, 1, 8 (11th Cir. 2012). In order

to prevail on a constitutional claim of ineffective assistance of counsel, a defendant

must demonstrate both that counsel=s performance was below an objective and

reasonable professional norm and that he was prejudiced by this inadequacy.

Strickland v. Washington, 466 U.S. 668, 686 (1984); Williams v. Taylor, 529 U.S.

362, 390 (2000); Darden v. United States, 708 F.3d 1225, 1228 (11th Cir. 2013).

Strickland=s two part test also applies to guilty pleas. Lafler v. Cooper, 132 S. Ct.

1376, 1384 (2012) (citing Hill v. Lockhart, 474 U.S. 52, 58 (1985)). A defendant’s

“after the fact testimony concerning his desire to plead, without more, is insufficient

to establish” prejudice. Pericles v. United States, 567 F. App’x 776, 782 (11th Cir.

2014) (quoting Diaz v. United States, 930 F.2d 832, 835 (11th Cir. 1991)); Rosin v.

United States, 786 F.3d 873 (11th Cir. 2015). A defendant must “convince the

court that a decision to reject the plea bargain would have been rational under the

circumstances.”    Padilla v. Kentucky, 559 U.S. 356, 372 (2010).           The Sixth

Amendment right to the effective assistance of counsel extends specifically “to the

negotiation and consideration of plea offers that lapse or are rejected.” In re Perez,

682 F.3d 930, 932 (11th Cir. 2012) (citing Missouri v. Frye, BBB U.S. BBBB, 132 S.

Ct. 1399 (2012); Lafler, 132 S. Ct. at 1376).         A defendant who claims that


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ineffective advice led him to reject a plea offer must show that but for ineffective

assistance of counsel, he would have accepted the plea, and that the conviction or

sentence or both under the terms of the plea offer would have been less severe than

under the judgment and sentence that were imposed. Lafler, 132 S. Ct. at 1385.

A defendant’s insistence that he is innocent is a “relevant consideration” that “makes

it more difficult to accept his claim” that he would have agreed to a plea deal. See

Osley v. United States, 751 F.3d 1214, 1224–25 (11th Cir. 2014).         In applying

Strickland, the court may dispose of an ineffective assistance claim if a defendant

fails to carry his burden on either of the two prongs. Strickland, 466 U.S. at 697;

Brown v. United States, 720 F.3d 1316, 1326 (11th Cir. 2013); Holladay v. Haley,

209 F.3d 1243, 1248 (11th Cir.2000) (“[T]he court need not address the performance

prong if the defendant cannot meet the prejudice prong, or vice versa.”).

      In determining whether counsel’s conduct was deficient, this court must, with

much deference, consider “whether counsel’s assistance was reasonable considering

all the circumstances.” Strickland, 466 U.S. at 688; see also Dingle v. Sec’y for

Dep’t of Corr., 480 F.3d 1092, 1099 (11th Cir. 2007). Reviewing courts are to

examine counsel’s performance in a highly deferential manner and “must indulge a

strong presumption that counsel’s conduct fell within the wide range of reasonable


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professional assistance.” Hammond v. Hall, 586 F.3d 1289, 1324 (11th Cir. 2009)

(quoting Strickland, 466 U.S. at 689); see also Chandler v. United States, 218 F.3d

1305, 1315–16 (11th Cir. 2000) (discussing presumption of reasonableness of

counsel’s conduct); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989)

(emphasizing that petitioner was “not entitled to error-free representation”).

Counsel’s performance must be evaluated with a high degree of deference and

without the distorting effects of hindsight. Strickland, 466 U.S. at 689. To show

counsel’s performance was unreasonable, a defendant must establish that “no

competent counsel would have taken the action that his counsel did take.” Gordon

v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (citations omitted); Chandler,

218 F.3d at 1315.     When reviewing the performance of an experienced trial

counsel, such as Defendant’s attorney in this case, the presumption that counsel’s

conduct was reasonable is even stronger, because “[e]xperience is due some

respect.” Chandler, 218 F.3d at 1316 n.18.

      With regard to the prejudice requirement, a defendant must establish that, but

for counsel’s deficient performance, the outcome of the proceeding would have been

different. Strickland, 466 U.S. at 694. “The likelihood of a different result must

be substantial, not just conceivable.”   Harrington v. Richter, 562 U.S. 86, 112


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(2011) (quoting Strickland).       For the court to focus merely on “outcome

determination,” however, is insufficient; “[t]o set aside a conviction or sentence

solely because the outcome would have been different but for counsel’s error may

grant the defendant a windfall to which the law does not entitle him.” Lockhart v.

Fretwell, 506 U.S. 364, 369–70 (1993); Allen v. Sec’y, Fla. Dep’t of Corr., 611 F.3d

740, 754 (11th Cir. 2010). A defendant therefore must establish “that counsel’s

errors were so serious as to deprive the defendant of a fair trial, a trial whose result

is reliable.” Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687). Or

in the case of alleged sentencing errors, a defendant must demonstrate that there is a

reasonable probability that, but for counsel’s errors, the result of the proceeding

would have been less harsh due to a reduction in the defendant’s offense level.

Glover v. United States, 531 U.S. 198, 203–04 (2001). A significant increase in

sentence is not required to establish prejudice, as “any amount of actual jail time has

Sixth Amendment significance.” Id. at 203.

      To establish ineffective assistance, Defendant must provide factual support

for his contentions regarding counsel’s performance.       Smith v. White, 815 F.2d

1401, 1406–07 (11th Cir. 1987).         Bare, conclusory allegations of ineffective

assistance are insufficient to satisfy the Strickland test. See Boyd v. Comm’r, Ala.


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Dep’t of Corr., 697 F.3d 1320, 1333–34 (11th Cir. 2012); Garcia v. United States,

456 F. App’x 804, 807 (11th Cir. 2012) (citing Yeck v. Goodwin, 985 F.2d 538, 542

(11th Cir. 1993)); Wilson v. United States, 962 F.2d 996, 998 (11th Cir. 1992);

Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991); Stano v. Dugger, 901 F.2d

898, 899 (11th Cir. 1990) (citing Blackledge v. Allison, 431 U.S. 63, 74 (1977)).

      The law is well-established that counsel is not ineffective for failing to

preserve or argue a meritless claim. Denson v. United States, 804 F.3d 1339, 1342

(11th Cir. 2015) (citing Freeman v. Attorney General, Florida, 536 F.3d 1225, 1233

(11th Cir. 2008)).   This applies regardless of whether the issue is a trial or

sentencing issue. See, e.g., Sneed v. Florida Dep=t of Corrections, 496 F. App’x 20,

27 (11th Cir. 2012) (failure to preserve meritless Batson claim not ineffective

assistance of counsel); Lattimore v. United States, 345 F. App’x 506, 508 (11th Cir.

2009) (counsel not ineffective for failing to make a meritless objection to an

obstruction enhancement); Brownlee v. Haley, 306 F.3d 1043, 1066 (11th Cir. 2002)

(counsel was not ineffective for failing to raise issues clearly lacking in merit);

Chandler v. Moore, 240 F.3d 907, 917 (11th Cir. 2001) (counsel not ineffective for

failing to object to “innocuous” statements by prosecutor, or accurate statements by

prosecutor about effect of potential sentence); Meeks v. Moore, 216 F.3d 951, 961


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(11th Cir. 2000) (counsel not ineffective for failing to make meritless motion for

change of venue); Jackson v. Herring, 42 F.3d 1350, 1359 (11th Cir. 1995) (counsel

need not pursue constitutional claims which he reasonably believes to be of

questionable merit); United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992)

(no ineffective assistance of counsel for failing to preserve or argue meritless issue).

      Finally, the Eleventh Circuit has recognized that given the principles and

presumptions set forth above, “the cases in which habeas petitioners can properly

prevail . . . are few and far between.” Chandler, 218 F.3d at 1313. This is because

the test is not what the best lawyers would have done or even what most good

lawyers would have done, but rather whether some reasonable lawyer could have

acted in the circumstances as defense counsel acted. Dingle, 480 F.3d at 1099;

Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000). “Even if counsel’s

decision appears to have been unwise in retrospect, the decision will be held to have

been ineffective assistance only if it was ‘so patently unreasonable that no competent

attorney would have chosen it.’”      Dingle, 480 F.3d at 1099 (quoting Adams v.

Wainwright, 709 F.2d 1443, 1445 (11th Cir. 1983)). The Sixth Circuit has framed

the question as not whether counsel was inadequate, but rather whether counsel’s

performance was so manifestly ineffective that “defeat was snatched from the hands


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of probable victory.” United States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992).

Regardless of how the standard is framed, under the prevailing case law it is

abundantly clear that a moving defendant has a high hurdle to overcome to establish

a violation of his constitutional rights based on his attorney’s performance. A

defendant’s belief that a certain course of action that counsel failed to take might

have helped his case does not direct a finding that counsel was constitutionally

ineffective under the standards set forth above.

      In light of the court’s substantive review of Defendant’s claims and the record,

the undersigned concludes that Defendant has not shown that his attorney was

constitutionally ineffective. Counsel aptly advocated for his client despite the

strength of the Government’s case and the evidence with which he was confronted.

To the extent Defendant claims in Grounds 63, 64, and 66 that counsel was

constitutionally ineffective due to his performance regarding the claims already

discussed herein, Defendant is not entitled to relief. A decision not to pursue a

meritless claim is not constitutionally deficient. Defendant’s characterization of

counsel’s pre-trial motion practice as inadequate, and his suggestion that counsel

was constitutionally ineffective because he failed to follow his client’s advice about

how to defend the case, do not accurately portray the record as a whole. Counsel


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presented or joined in myriad pretrial motions, and not presenting a defense is, in

many circumstances, the most reasonable defense strategy—not a constitutional

failing.

       Counsel was a vocal advocate for his client, joining counsel for co-Defendant

Freeman’s motion for a mistrial as a result of what the defense deemed was the

prosecution’s inflammatory closing argument, a description with which the district

court disagreed (ECF No. 760 at 16, 18). Additionally, in his closing argument,

Attorney Oram offered the jury several strong arguments in support of finding that

his client was not actually involved in the conspiracy, and suggested areas in which

the evidence was lacking or conflicting (ECF No. 760 at 60–72). As the other

attorneys had done, Defendant Lakey’s counsel reminded the jurors to make a

decision based on reason, and not emotion. The fact that this was ultimately

unsuccessful is not tantamount to proof of a constitutional deficiency in counsel’s

performance.

       In Ground 65, Defendant contends that trial counsel should have introduced a

psychologist’s report to counteract the Government’s references to “pedophiles.”

According to Defendant, the report concluded that Defendant was not a “pedophile”

but that he suffered from “a particular type of paraphilia dealing with compulsive


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collecting of images of young girls” (ECF No. 1009 at 36–37). Even if such a report

were admissible, admission of the report and purported diagnosis was unlikely to

benefit Defendant’s case.    There was evidence from which a jury could have

concluded that Defendant was, as many of the co-Defendants referred to themselves,

an actual pedophile (see ECF No. 1053, Exh. L; ECF No. 760 at 17–18). Regardless

of the label placed on any of the Defendants, it was the evidence presented at trial

which spoke the loudest.

      In Ground 67, Defendant contends that counsel improperly advised him

regarding the possibility of reaching a plea agreement with the Government. He

claims that he was told that he would not receive a sentence below twenty years, and

that he was not advised about the possibility of cooperating with the Government.

Defendant maintains that there is a “traditional unwritten rule” that individuals who

provide such testimony would receive “at least a 65% reduction” in their sentence

(ECF No. 1009 at 38).

      Obviously, if counsel advised Defendant that he faced a mandatory minimum

penalty, this advice was correct.     Defendant’s suggestion that any substantial

assistance reduction is guaranteed, much less one of the magnitude he suggests, is

incorrect. Whether a defendant receives a substantial assistance reduction, and the


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extent of the reduction, depends on many factors. The Office of the United States

Attorney for this district does not engage in plea bargaining, and a specific sentence

is not part of the standard plea agreement offered in this district. The Government

notes that although seven co-Defendants entered guilty pleas, only three of them

received substantial assistance motions and sentences below the statutory mandatory

minimum. This demonstrates that the entry of a guilty plea is no guarantee of a

below guidelines sentence. Defendant did not specifically state that he would have

entered a guilty plea and admitted the charged conduct. However, in light of

Defendant’s misunderstanding about the benefit of entering into a plea agreement,

and his continued protestations of innocence, such a conclusion would not be

supported.

      In Ground 68, Defendant asserts that trial counsel provided ineffective

assistance with respect to the allegedly coerced statement construed as a confession.

Defendant now claims that he told law enforcement only that “he may in the distant

past have posted ‘child erotic art’” (ECF No. 1009 at 38). He claims that counsel

was constitutionally ineffective because he was unwilling to discuss Defendant’s

“intended meaning” by that statement, when Defendant tried to explain that he told

law enforcement he had uploaded “legal child erotica” or “innocent pictures of


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children arousing only in the minds of certain viewers” although Defendant was not

such a viewer (id.). Defendant claims that the statement was not a confession and

counsel should not have viewed it as such, but rather that counsel should have

examined this as a potential defense. Even if some of Defendant’s online activities

were dedicated to files that did not meet the legal definition of child pornography,

this does not excuse his involvement with images that did.

      Defendant’s last claim of ineffective assistance of counsel, Ground 69, is that

counsel allowed fear of the judge’s possible reprisal in future cases to prevent or

curtail certain defense tactics. For instance, Defendant claims that he inquired

about unspecified “possible misconduct and recusal issues” and counsel told him

that he was not going to risk possible future reprisal by the judge. Defendant has

not established that there was any basis for an allegation of misconduct or a motion

for recusal. As such, he has not shown either deficient performance or prejudice as

a result of counsel’s failure to move for same.

      A review of the record as a whole contradicts Defendant’s assertion that no

reasonable attorney would have conducted his representation as Mr. Oram did.

Defendant has established neither constitutionally deficient performance nor

prejudice under Strickland, and he is not entitled to relief.


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      17.    Ineffective Assistance of Appellate Counsel

      Defendant raises four grounds for relief that are directly related to the

performance of appellate counsel (Grounds 70 through 72 and 74). He contends

generally that appellate counsel provided constitutionally deficient assistance in

preparing the direct appeal, and that counsel failed to seek rehearing of the Eleventh

Circuit’s decision or to present the proper claim of error to the United States

Supreme Court.

      Due process of law requires that a defendant receive effective assistance of

appellate counsel on his direct appeal. Evitts v. Lucey, 469 U.S. 387, 396 (1985).

However, the Sixth Amendment does not require appellate advocates to raise every

non-frivolous issue on appeal if counsel, as a matter of professional judgment,

decides not to do so. Smith v. Robbins, 528 U.S. 259, 287–88 (2000); Knowles v.

Mirzayance, 556 U.S. 111, 126–27 (2009); Jones v. Barnes, 463 U.S. 745, 751–52

(1983); Heath v. Jones, 941 F.2d 1126, 1130–31 (11th Cir. 1991). It is possible to

bring a Strickland claim based on counsel’s failure to raise a particular claim, but it

is difficult to demonstrate in such a situation that counsel’s performance was

constitutionally ineffective. Smith, 528 U.S. at 288 (citing Gray v. Greer, 800 F.2d

644, 646 (7th Cir. 1986) (“Generally, only when ignored issues are clearly stronger


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than those presented, will the presumption of effective assistance of counsel be

overcome”)); see also Payne v. United States, 566 F.3d 1276, 1277 (11th Cir. 2009)

(citing Smith).    “Experienced advocates since time beyond memory have

emphasized the importance of winnowing out weaker arguments on appeal and

focusing on one central issue if possible, or at most on a few key issues.” Barnes,

463 U.S. at 751–52. In fact, this is the “hallmark of effective appellate advocacy.”

Smith v. Murray, 477 U.S. 527, 536 (1986). The mere fact that one of the non-

appealed issues might have been successful does not preclude a finding that the

counsel’s performance, which must be judged in its entirety, was effective. Id.;

Heath, 941 F.2d at 1131 (counsel’s appellate advocacy must be judged in its

entirety); Reutter v. Secretary for Dept. of Corr., 232 F. App’x 914, 917 (11th Cir.

2007) (citing Heath). Of course, appellate counsel is not ineffective for failing to

raise claims that are reasonably considered to be without merit. Brown v. United

States, 720 F.3d 1316, 1335 (11th Cir. 2013); Shere v. Sec’y Fla. Dep’t of Corr., 537

F.3d 1304, 1311 (11th Cir. 2008); United States v. Nyhuis, 211 F.3d 1340, 1344

(11th Cir. 2000) (citing Alvord v. Wainwright, 725 F.2d 1282, 1291 (11th Cir.

1984)).




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      Defendant claims in Ground 74 that appellate counsel did not raise over 50

potentially meritorious issues that he wanted raised on appeal. The Government

notes that Defendant’s attorney raised thirteen individual counts of error, and takes

the position that it would have been “unreasonable, if not ridiculous” to raise fifty or

sixty arguments in the space allotted on appeal. A review of the lengthy and

thorough appellate opinion in this case, which resulted in two counts of conviction

being vacated, does not suggest ineffective appellate advocacy in this case.

Although the Eleventh Circuit found multiple arguments too weak to warrant

discussion, it found a number of arguments merited significant analysis, although

they were ultimately decided adversely to Defendant. See McGarity, 669 F.3d at

1229. Furthermore, as evidenced by the discussion in the foregoing sections,

Defendant did not have any other issues of arguable merit, much less any “sure fire

winners.”

      In Ground 70, Defendant claims that he was prejudiced by counsel’s statement

in his appellate brief that there was “certainly a need to punish” Defendant.

Defendant portrays this comment as “virtual abandonment,” and not one that a

reasonable attorney would have made. The undersigned disagrees. As has been

noted multiple times, the Eleventh Circuit found the evidence in this case to be


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“overwhelming.” An acknowledgement that Defendant had been found guilty,

coupled with an argument that nonetheless the sentence was “grossly

disproportionate to [his] offenses and violate[d] the Eighth Amendment’s

prohibition on cruel and unusual punishment” would not have been unreasonable.

Such a statement, made in the context of an appellate argument, did not render

counsel’s performance constitutionally infirm.     Defendant has not shown that

appellate counsel’s performance, taken as a whole was constitutionally ineffective,

given the confessions and the “overwhelming” evidence presented at trial. See

McGarity, 669 F.3d at 1231, 1242–43, 1246.

      Defendant contends in Ground 71 that appellate counsel was constitutionally

ineffective in seeking rehearing of the direct appeal decision. Defendant notes that

counsel’s “Notice of Adoption of Motions for Rehearing” was returned to counsel

unfiled because it was untimely (ECF No. 1167, Exh. D). None of the other

Defendants were successful in obtaining a rehearing, and as such Defendant has not

shown that he was prejudiced by counsel’s tardy submission.

      In Ground 72, Defendant claims that appellate counsel provided ineffective

assistance of counsel in failing to seek certiorari before the Supreme Court.

Defendant does not have a Sixth Amendment right to counsel to pursue discretionary


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review in the Supreme Court. See Ross v. Moffitt, 417 U.S. 600, 616–17 (1974);

Wainwright v. Torna, 455 U.S. 586, 587–88 (1982) (no right to counsel to pursue

discretionary review); see also Coleman v. Thompson, 501 U.S. 722, 752 (1991)

(citing Wainwright v. Torna for the proposition that “when there is no constitutional

right to counsel there can be no deprivation of effective assistance”). Defendant

does not contend that counsel did not advise him of the right to file such a petition.

See Sessions v. United States, 416 F. App’x 867, 869 (11th Cir. 2011) (“declin[ing]

to address the hypothetical question of whether it might constitute ineffective

assistance of counsel for an attorney to fail to advise a client of his right to file a

petition for a writ of certiorari in violation of the Criminal Justice Act Plan where

the client asserts that he would have filed such a petition if he had been informed.”).

Rather, Defendant appears to contend that counsel indicated that he would assist

him, but failed to do so. Whether counsel breached a gentleman’s agreement to

assist Defendant in filing a pro se petition for a writ of certiorari is a separate

question from whether Defendant has established a constitutional violation. He has

not, and as such, he is not entitled to relief.

       18.    Infirmity of Subpoenas




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      In Ground 75, Defendant complains about the administrative subpoenas

issued in this case, which were issued “without judicial review or certification in

violation of the First and Fourth Amendments.” He claims that the language on the

subpoenas regarding non-disclosure “would lead a reasonable person to believe they

were required by law not to disclose issuance of the subpoena to the account holder”

(ECF No. 1009 at 41).

      Administrative subpoenas are governed by Title 18 U.S.C. § 3486. Section

3486(a)(1)(A)(i)(II) authorizes issuance of these subpoenas in the investigation of a

federal offense involving the sexual exploitation or abuse of children.             The

respondent bears a heavy burden to disprove the existence of a valid purpose for an

administrative subpoena. See United States v. LaSalle Nat'l Bank, 437 U.S. 298,

316 (1978). The Government, with its subpoena power, “does not depend on a case

or controversy for power to get evidence but can investigate merely on suspicion

that the law is being violated, or even just because it wants assurance that it is not.”

See United States v. Morton Salt Co., 338 U.S. 632, 642–43 (1950); see also United

States v. R. Enterprises, Inc., 498 U.S. 292, 295 (1991) (“[T]he Government cannot

be required to justify the issuance of a grand jury subpoena by presenting evidence

sufficient to establish probable cause because the very purpose of requesting the


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information is to ascertain whether probable cause exists.”). Thus, issuance of the

subpoenas, the contents of which are strictly limited by 18 U.S.C. §§ 3486 and 2703,

was not improper.

       The Government asserts, citing 18 U.S.C. § 3486(a)(1)(A) and (C), that it is

authorized by statute to require non-disclosure to subscribers (ECF No. 1053 at 39

& n.17). Regardless of any such authorization to require non-disclosure, the actual

sample subpoena itself reveals that the Government is correct in noting that that the

subpoena “requests” rather than “requires” non-disclosure, although the recipient is

also warned that “any such disclosure could interfere with an ongoing investigation

and enforcement of the law” (ECF No. 1053, Exh. M). Even if a challenge to the

subpoenas were cognizable in the instant proceeding, Defendant has not shown a

basis for relief.

       Conclusion

       For all of the foregoing reasons, the court finds that Defendant has failed to

show that any of the claims raised in his motion to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. § 2255 have merit.        Nor has he shown that an

evidentiary hearing is warranted. Therefore Defendant=s motion should be denied

in its entirety.


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                           Certificate of Appealability

      Rule 11(a) of the Rules Governing Section 2255 Proceedings provides that

“[t]he district court must issue or deny a certificate of appealability when it enters a

final order adverse to the applicant,” and if a certificate is issued “the court must

state the specific issue or issues that satisfy the showing required by 28 U.S.C.

§ 2253(c)(2).” A timely notice of appeal must still be filed, even if the court issues

a certificate of appealability. Rule 11(b), § 2255 Rules.

      After review of the record, the court finds no substantial showing of the denial

of a constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84

(2000) (explaining how to satisfy this showing) (citation omitted). Therefore, it is

also recommended that the court deny a certificate of appealability in its final order.

      The second sentence of Rule 11(a) provides: “Before entering the final order,

the court may direct the parties to submit arguments on whether a certificate should

issue.” If there is an objection to this recommendation by either party, that party

may bring this argument to the attention of the district judge in the objections

permitted to this report and recommendation.

      Based on the foregoing, it is respectfully RECOMMENDED:

      1.     Defendant’s Motion to Vacate, Set Aside or Correct Sentence (ECF No.


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            1009) be DENIED.

      2.    A certificate of appealability be denied.

      At Pensacola, Florida, this 31st day of August 2016.

                         /s/ Elizabeth M. Timothy

                         ELIZABETH M. TIMOTHY
                         CHIEF UNITED STATES MAGISTRATE JUDGE




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                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be
filed within fourteen (14) days after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon all other
parties. If a party fails to object to the magistrate judge's findings or
recommendations as to any particular claim or issue contained in a report and
recommendation, that party waives the right to challenge on appeal the district
court's order based on the unobjected-to factual and legal conclusions. See
11th Cir. Rule 3-1; 28 U.S.C. § 636.




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